                                Case 10-37371      Doc 785         Filed 09/14/22       Page 1 of 2
Entered: September 14th, 2022
Signed: September 14th, 2022




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF MARYLAND
                                                  at GREENBELT


             In re:                                            *    Case No. 10-37371-TJC
             KH Funding Company                                *    Chapter        13
                                 Debtor                        *
               *         *      *       *      *       *       *      *        *        *       *        *       *


                                             STATEMENT OF NO ACTION
                      On July 15, 2022, KH Funding Co., the post-confirmation, liquidating debtor, filed its

         Chapter 11 Final Report and a motion for entry of an order (a) entering a final decree, (b)

         approving final distributions to unsecured creditors, (c) authorizing the abandonment of certain

         property, and (d) authorizing the abandonment and destruction of certain documents and records.

         ECF 774. The filing was accompanied by a Certificate of Full Administration, and a notice.

         ECF 774-1, 774-2. On August 24, 2022, Ms. Merle Kleiber filed a copy of an account statement

         and a note stating “As a middle class couple, my husband and I worked hard for our money. I

         would really like my money back.” ECF 782.1




         1
          The filing was put under seal because it contained Ms. Kleiber’s account number. See Federal Rule of Bankruptcy
         Procedure 9037(a), (c).

                                                                1
                 Case 10-37371        Doc 785      Filed 09/14/22     Page 2 of 2




       The Court has no doubt Ms. Kleiber’s investment funds were well earned. However, the

amounts available for distribution to creditors and investors are set forth in the filings made by

the debtor, referenced above. Unfortunately, under the circumstances of the case, the recoveries

will be considerably less than full satisfaction of claims.

       No further action can be taken on Ms. Kleiber’s request.

cc:    Merle Kleiber

       Debtor’s Counsel



                                      END OF NO ACTION




                                                  2
